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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF COLORADO

   IN RE:                          )
                                   )
   SKLAR EXPLORATION COMPANY, LLC )                   Case No. 20-12377-EEB
   EIN: XX-XXXXXXX                 )
                                   )                  Chapter 11
             Debtor-in-Possession. )
                                   )
                                   )
   IN RE:                          )
                                   )
   SKLARCO, LLC                    )                  Case No. 20-12380-EEB
   EIN: XX-XXXXXXX                 )
                                   )                  Chapter 11
                                   )
                                   )
             Debtor-in-Possession. )
                                   )


  LBR 4001-1.1 NOTICE OF MOTION FOR RELIEF FROM STAY AND OPPORTUNITY
                              FOR HEARING


                        OBJECTION DEADLINE: DECEMBER 10, 2020

          NOTICE IS HEREBY GIVEN that a Motion for Relief from Stay (the “Motion”) has
  been filed, a copy of which is attached hereto.

          A hearing on the Motion has been set for December 17, 2020 at 1:30 p.m. MT at the U.S.
  Bankruptcy Court, U.S. Custom House, 721 19th Street, Courtroom F, Fifth Floor, Denver,
  Colorado 80202 (the “Hearing”). The Hearing will be conducted in accordance with the
  provisions of L.B.R. 4001-1. Please take further notice that pursuant to the United States
  Bankruptcy Court for the District of Colorado Current Operational Status during COVID-19
  Pandemic                   (rev.                 Sept.              23,                 2020),
  https://www.cob.uscourts.gov/files/covid19/Operational_Status.pdf, the Hearing will be held
  telephonically as follows:

                                Telephone number: 1-888-684-8852

                       Meeting Access Code: 3454024 followed by the # sign.

              Parties need make arrangements to electronically file their witness and
           exhibit lists and exhibits with the Court at least 24 hours prior to the hearing


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        If you desire to oppose the Motion, you must file with this court a written objection to the
  Motion on or before the objection deadline stated above and serve a copy upon movant’s attorney,
  whose address is listed below.

         If you file an objection, you are required to comply with L.B.R. 4001-1 regarding hearing
  procedures, including (i) the timely submission and exchange of witness lists and exhibits and (ii)
  attendance at the above-scheduled hearing in person or through counsel, if represented.

          If you fail to file an objection, the scheduled hearing will be vacated, and an order granting
  the relief requested may be granted without further notice to you.

  Dated: November 18th, 2020.             By: /s/Timothy M. Swanson
                                          Timothy M. Swanson (Colorado No. 47267)
                                          MOYE WHITE LLP
                                          1400 16th Street, 6th Floor
                                          Denver, Colorado 80202-1486
                                          Tel: (303) 292-2900
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                                          Tim.Swanson@moyewhite.com
                                          Counsel to the Ad Hoc Committee of Working Interest
                                          Owners of Sklar Exploration Company, LLC and Sklarco,
                                          LLC

                                          --and--

                                          Craig M. Geno
                                          Law Offices of Craig M. Geno, PLLC
                                          587 Highland Colony Parkway
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                                          Counsel to the Ad Hoc Committee of Working Interest
                                          Owners of Sklar Exploration Company, LLC and Sklarco,
                                          LLC




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